AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                Eastern District
                                              __________         of Wisconsin
                                                          District  of __________

                  United States of America                      )
                             v.                                 )
                     Marcus D. Tanksley
                                                                )      Case No.
                                                                )                     22-M-708
                      DOB: 5/18/1987
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 July 17, 2022               in the county of             Milwaukee                in the
      Eastern          District of        Wisconsin         , the defendant(s) violated:

            Code Section                                                  Offense Description
18 U.S.C. Section 1038(a)(1)                 Intentionally conveying false or misleading information under circumstances
                                             in which such information may reasonably have been believed




         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
         u
                                                                        WILLIAM SANTIAGO                 Digitally signed by WILLIAM
                                                                                                         SANTIAGO JR
                                                                        JR                               Date: 2022.07.29 11:48:05 -05'00'
                                                                                           Complainant’s signature

                                                                             William Santiago, Special Agent - DHS (FPS)
                                                                                            Printed name and title

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SXUVXDQWWR)HG5&ULP

Date: 07/29/2022                                                           s/ William C. Griesbach
                                                                                               Judge’s signature

City and state:                    *UHHQ%D\,Wisconsin                         :LOOLDP&*ULHVEDFKU.S.'LVWULFWJudge
                                                                                            Printed name and title


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                             AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A CRIMINAL COMPLAINT

       I, William Santiago, being first duly sworn on oath, on information and belief state:

       1.      I am a Special Agent with the Department of Homeland Security, Federal Protective

Services (FPS), and have been so employed for approximately 12 years. My current

responsibilities include the investigation of violations of criminal law and administrative

regulations that occur on federal property and/or involve federal agencies or employees.

       2.      This affidavit is submitted in support of a criminal complaint alleging that on or

about July 17, 2022, in the State and Eastern District of Wisconsin, MARCUS D. TANKSLEY,

date of birth 05/18/1987, violated Title 18, United States Code, Section 1038(a)(1), by

intentionally conveying false or misleading information under circumstances in which such

information may reasonably have been believed. The false or misleading information indicated

that an activity had taken, was taking, or would take place that would constitute a violation of

Chapter 40 of Title 18, United States Code, that is 18 U.S.C. 844(f)(1), relating to malicious

destruction of or an attempt to damage and destroy, by means of an explosive, any building or real

property owned or possessed by, or leased to, the United States or any department or agency

thereof.


       3.       Because this affidavit is being submitted for the limited purpose of establishing

probable cause in support of a criminal complaint charging TANKSLEY with the crime detailed

above, I have not included each and every fact known to me concerning this investigation. I have

set forth only the facts that I believe are necessary to establish probable cause to believe that

TANKSLEY committed the offense alleged in the complaint.




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       4.       The information in this affidavit is based upon information obtained from other

law enforcement officers, including reports I have read and conversations I have had with

individuals personally knowledgeable of the events and circumstances described herein.

       5.       On July 17, 2022, at 12:06 AM, Milwaukee Police Officer Jacob Roecker was

dispatched to a bomb threat at the Milwaukee Federal Courthouse, 504 E. Michigan Street,

Milwaukee, Wisconsin. Upon arrival, Officer Roecker observed a small white piece of paper with

a small rock on top of the paper outside of an emergency exit door of the Federal Courthouse. The

address of the specific emergency door is 504 E. Michigan Street, Milwaukee, Wisconsin. Officer

Roecker observed handwritten words on the piece of paper stating, “This building will be

bombed.” Officer Roecker took possession of the note and the rock and inventoried the items.

       6.       On July 23, 2022, Milwaukee Police Officer Joseph D. Goggins was provided

photos from the surveillance video of the suspect who appeared to place the threat note at the

Federal Courthouse. Officer Goggins identified the suspect as MARCUS D. TANKSLEY, who

was then located and arrested by Milwaukee Police Department.

       7.       On July 23, 2022, at approximately, 12:12pm, Milwaukee Police Detective Jolene

Del Moral interviewed TANKSLEY. Detective Del Moral mirandized TANKSLEY, and

TANKSLEY waived his rights and agreed to be interviewed. TANKSLEY then admitted to (1)

writing the threatening note with a rock on top of it, and (2) placing it next to the glass (emergency)

door of the Federal Courthouse. Detective Del Moral showed TANKSLEY video surveillance

photos of the area, and TANKSLEY admitted he is the person in the video surveillance photos. At

the time of the interview, Detective Del Moral took photos of TANKSLEY as he appeared to be

wearing the same clothes during the interview that he had been wearing at the time video




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surveillance recorded TANKSLEY placing the bomb threat note outside the Federal Courthouse

door.

        8.      Based upon the information contained in this affidavit, I submit that there is

probable cause to believe that MARCUS D. TANKSLEY violated Title 18, United States Code,

Section 1038(a)(1) by intentionally conveying false information regarding the future violation of

Title 18, United States Code, 18 U.S.C. 844(f)(1) by the bombing of the Federal Courthouse in

Milwaukee, Wisconsin.




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